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                                                      Presentment Date: August 10, 2022 at 12:00 p.m. (EST)
                                                     Objection Deadline: August 10, 2022 at 11:00 a.m. (EST)

TOGUT, SEGAL & SEGAL LLP
One Penn Plaza, Suite 3335
New York, New York 10119
(212) 594-5000
Albert Togut
Frank A. Oswald
Neil Berger
Griffin Quist

Attorneys for Stephen S. Gray,
Not Individually But Solely in His Capacity
as Chapter 11 Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :    Chapter 11
                                                               :
96 WYTHE ACQUISITION LLC,                                      :    Case No. 21-22108 (SHL)
                                                               :
                                       Debtor.                 :
                                                               :
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                   NOTICE OF PRESENTMENT OF AN
    ORDER AUTHORIZING RETENTION AND EMPLOYMENT OF A&G REAL
           ESTATE PARTNERS, LLC AND EASTDIL SECURED, LLC
       AS REAL ESTATE CO-BROKERS FOR THE CHAPTER 11 TRUSTEE

                 PLEASE TAKE NOTICE that upon the annexed Application of Stephen S.

Gray, not individually but solely in his capacity as the Chapter 11 trustee (the

“Trustee”) of the estate of 96 Wythe Acquisition LLC (the “Debtor”), by and through his

attorneys, Togut, Segal & Segal LLP, the undersigned will present for signature an

Order (the “Order”), a true and complete copy of which is annexed to the Application

as Exhibit B, authorizing the employment and retention of A&G Real Estate Partners,

LLC and Eastdil Secured, LLC as real estate co-brokers to Trustee, to the Honorable

Sean H. Lane, United States Bankruptcy Judge, in his Chambers, United States

Bankruptcy Court for the Southern District of New York, 300 Quarropas Street, White

Plains, New York, at 12:00 p.m. (prevailing Eastern Time) on August 10, 2022 (the

“Presentment Date”).
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               PLEASE TAKE FURTHER NOTICE that objections, if any, to the Order

must be made in writing and conform with the requirements of the Bankruptcy Code,

the Bankruptcy Rules, and the Local Bankruptcy Rules, and be filed with the Clerk of

the Bankruptcy Court at the address set forth above, with a copy delivered directly to

Bankruptcy Judge Lane’s Chambers, and served upon (i) the undersigned attorneys for

the Trustee and (ii) the Office of the United States Trustee, Attn: Greg M. Zipes, Trial

Attorney (Greg.Zipes@usdoj.gov), so as to be filed and actually received by all of them

not later than 11:00 a.m. (prevailing Eastern Time) on August 10, 2022. If no timely

written objections are filed and received in accordance with the foregoing, the Order

may be signed by the Court.

DATED: New York, New York
       July 26, 2022

                                          STEPHEN S. GRAY
                                          Not Individually But Solely in His
                                          Capacity as Chapter 11 Trustee
                                          By His Attorneys,
                                          TOGUT, SEGAL & SEGAL LLP
                                          By:

                                          /s/Frank A. Oswald
                                          FRANK A. OSWALD
                                          A Member of the Firm
                                          One Penn Plaza, Suite 3335
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Attorneys for Stephen S. Gray,
Not Individually But Solely in His Capacity
as Chapter 11 Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
96 WYTHE ACQUISITION LLC,                                      :   Case No. 21-22108 (SHL)
                                                               :
                                       Debtor.                 :
                                                               :
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     CHAPTER 11 TRUSTEE’S APPLICATION FOR AN ORDER AUTHORIZING
                  THE RETENTION AND EMPLOYMENT OF
       A&G REAL ESTATE PARTNERS, LLC AND EASTDIL SECURED, LLC
                      AS REAL ESTATE CO-BROKERS

TO THE HONORABLE SEAN H. LANE,
UNITED STATES BANKRUPTCY JUDGE:

                 Stephen S. Gray, not individually but solely in his capacity as the Chapter

11 trustee (the “Trustee”) of the estate of 96 Wythe Acquisition LLC, (“Debtor”) in the

above-captioned chapter 11 case (the “Chapter 11 Case”) hereby makes this application

(the “Application”), by and through his attorneys, Togut, Segal & Segal LLP, for entry

of an order in the form annexed hereto as Exhibit A (the “Proposed Order”), in

accordance with the terms and conditions set forth in the engagement letter between the

Trustee, A&G Real Estate Partners, LLC (“A&G”), and Eastdil Secured, LLC (“Eastdil”

and together with A&G, the “Co-Brokers”) dated July 25, 2022 (the Engagement Letter”)

(a copy of which is annexed hereto as Exhibit B), under sections 327(a) and 328(a) of
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title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), Rule

2014(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Rule 2014-1 of the Local Bankruptcy Rules for the Southern District of New York

(the “Local Rules”), authorizing the retention and employment of A&G and Eastdil to

serve as co-brokers to the Trustee to assist in the marketing and sale of the Debtor’s

property located at 96 Wythe Avenue, Brooklyn, New York (the “Property”). In

support of the relief requested in this Application, the Trustee submits the declarations

of Emilio Amendola, a co-President at A&G, (the “Amendola Declaration”), attached

hereto as Exhibit C, and Andy Wimsatt, a Managing Director at Eastdil (the “Wimsatt

Declaration” and together with the Amendola Declaration, the “Broker Declarations”)

attached hereto as Exhibit D, which are incorporated herein by reference, and

respectfully state:

                                       JURISDICTION

               1.       This Court has jurisdiction to consider this matter pursuant to

28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the Southern District of New York, dated as of

January 31, 2012. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This matter

is a core proceeding pursuant to 28 U.S.C. § 157(b).

               2.       The statutory predicates for the relief requested herein are sections

327(a) and 328(a) of the Bankruptcy Code, Bankruptcy Rule 2014(a), and Local Rule

2014-1.

               3.       The Trustee consents to the entry of a final order by this Court in

connection with this Application to the extent that it is later determined that this Court,

absent consent of the parties, cannot enter final orders or judgments in connection with

this Application consistent with Article III of the United States Constitution.


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                                       BACKGROUND

               4.       On February 23, 2021 (the “Petition Date”), the Debtor filed a

voluntary petition for relief under Chapter 11 of the Bankruptcy Code in the United

States Bankruptcy Court for the Southern District of New York (the “Court”).

               5.       No official committee of unsecured creditors has been appointed in

this Chapter 11 Case.

               6.       On October 15, 2021, Benefit Street Partners Realty Operating

Partnership, L.P. (“Benefit Street” or “Secured Lender”) filed its Motion to Appoint an

Examiner Pursuant to 11 U.S.C. § 1104(c) [Docket No. 147], which was granted by the

Court on November 8, 2021 by entry of the Order Directing Appointment of an Examiner

Pursuant to 11 U.S.C. § 1104(c) [Docket No. 178], which order was subsequently

amended on November 23, 2021 by entry of the Amended Order Directing Appointment of

an Examiner Pursuant to 11 U.S.C. § 1104(c) [Docket No. 193] and on December 14, 2021

by entry of the Second Amended Order Directing Appointment of an Examiner Pursuant to 11

U.S.C. § 1104(c) [Docket No. 224].

               7.       On November 16, 2021, the Court entered the Order Approving

Appointment of Examiner [Docket No. 186], and Eric M. Huebscher was appointed as the

examiner (the “Examiner”) in this Chapter 11 Case.

               8.       On February 28, 2022, the Examiner issued his report (the

“Examiner Report”) [Docket. No. 418] wherein the Examiner found that there were

sufficient grounds to appoint a trustee. On March 21, 2022, the Examiner issued a

supplemental report [Docket. No. 465].

               9.       On March 28, 2022, Benefit Street filed its Renewed Motion for the

Appointment of a Chapter 11 Trustee Based on Continuing Malfeasance [Docket. No. 476],




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raising concerns of potential impropriety on behalf of the Debtor’s management and

requesting the appointment of a Chapter 11 trustee.

               10.   On March 31, 2022, the Office of the United States Trustee (the

“U.S. Trustee”) filed the Motion to Appoint Trustee [Docket No. 491]

               11.   Following evidentiary hearings conducted on May 17 and 25, and

post-hearing oral argument on May 26, on May 27, 2022, the Court entered its Order

Granting Motions to Appoint a Chapter 11 Trustee [Docket. No. 591].

               12.   On May 31, 2022, the U.S. Trustee filed his Notice of Appointment of

Chapter 11 Trustee [Docket. No. 592] and filed an application for Steven S. Gray’s

appointment as Chapter 11 trustee [Docket. No. 593], subject to Court approval.

               13.   On May 31, 2022, the Court entered its Order Granting the

Application for Appointment of Chapter 11 Trustee [Docket No. 594] approving the

U.S. Trustee’s appointment of the Trustee. The Trustee has duly qualified and is acting

as the Chapter 11 Trustee.

                      FACTS SPECIFIC TO RELIEF REQUESTED

       I.      The Trustee’s Selection of A&G and Eastdil as his Real Estate Co-
               Brokers

               14.   Following the Trustee’s interviews with a number of nationally

known brokers in the hotel and hospitality sector, he selected A&G and Eastdil to act as

his co-brokers. The Trustee considered: (i) A&G and Eastdil’s extensive experience

regarding hotel and hospitality assets along with their experience in chapter 11 cases.

(ii) the estimated time required to sell the Property; (iii) A&G and Eastdil’s familiarity

with marketing of properties similar to the Debtor’s; (iv) the estimated valuation of the

Property; and (v) A&G and Eastdil’s favorable market-based fee structures. The

Trustee also considered the respective expertise of A&G and Eastdil to complement



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each other well, to the point that a co-broker arrangement with A&G and Eastdil

Trustee would benefit the Debtor’s estate and its creditors. Namely, A&G has extensive

experience in section 363 sales, while Eastdil has a sizable team of professionals with

vast experience in hotel and hospitality-related real property sales. Accordingly, the

Trustee submits that A&G and Eastdil are particularly well-suited to act as the Trustee’s

real estate co-brokers.

          II.    A&G’s Qualifications

                 15.   A&G is a well-known, reputable and diversified real estate

consulting and advisory firm. The principals of A&G, combined, have over 50 years of

experience in all facets of the commercial real estate industry. A&G evaluates,

restructures, facilitates the acquisition of, and disposes of all types of commercial real

estate.

                 16.   A&G has regularly represents chapter 11 debtors, trustees and

receivers in the marketing and disposition of real estate pursuant to section 363 of the

Bankruptcy Code. A&G has extensive experience marketing and selling various types

of real estate in and out of bankruptcy, including hotels and hospitality assets.

                 17.   Moreover, A&G maintains an office in close proximity to the

Property, allowing A&G to efficiently and responsively show the Property to

prospective buyers.

                 18.   Based on the foregoing, the Trustee believes that A&G is

well-qualified and able to efficiently provide the requested brokerage services with

respect to the Property.

          III.   Eastdil’s Qualifications

                 19.   Eastdil, which has been in the real estate business since 1967, is

well regarded in the commercial real estate capital markets. Eastdil has a well-qualified


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hospitality deal team. Eastdil is the largest independent commercial real estate

investment bank in the world by transaction volume and has completed more than $2.7

trillion in transactions within the last 15 years.

               20.          Mr. Wimsatt, who will lead this engagement for Eastdil, has been

involved with the hospitality industry for over 35 years, including 20 years with

Marriot International in a variety of executive-level positions in hotel development. He

has been with Eastdil in the role of Managing Director for three years and has

successfully advised institutional clients in the acquisition and disposition of hotel

assets in the United States and Europe.

       IV.     Services to be Provided by the Co-Brokers

               21.          Pursuant to the terms of the Engagement Letter, the Co-Brokers

shall render the following professional services, which include but are not limited to:

                       i.    Prepare and implement a marketing plan to sell the Property;

                      ii.    Conduct a sale process of the Property;

                     iii.    Represent the Trustee in, and along with the Trustee’s counsel,
                             negotiate, the sale terms for the Property;

                     iv.     Assist the Trustee and his counsel in the documentation of a sale
                             transaction involving the Property; and

                      v.     Report weekly to the Trustee regarding the status of the project or
                             as otherwise agreed to by the Trustee.

               22.          The Co-Brokers will provide the services described above on an

exclusive basis for a term of one year, beginning on the date of the Engagement Letter

(the “Co-Broker Period”).




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        V.       Compensation

                 23.     Compensation to the Co-Brokers will be based upon a percentage

of the gross sales price1 of the Property (the “Fee”). The Fee will be shared equally

between A&G and Eastdil. The Co-Brokers shall be reimbursed for their reasonable

out-of-pocket expenses, provided that the expenses shall not exceed $50,000.

                 24.     The Fee will be equal to: (a) 1.25% of the first $103.4 million of

gross sales price of the property; plus (b) 3% of the portion of the gross sales price of

the Property that exceeds $103.4 million.

                 25.     Notwithstanding the foregoing, in the event that the Secured

Lender is the successful purchaser of the Property pursuant to a credit bid of $96

million (or less), the Co-Brokers will receive compensation in an amount equal to 50% of

the Fee that the Co-Brokers would otherwise receive as set forth above.

                 26.     The services provided by the Co-Brokers are transactional by

nature, and therefore the Co-Brokers will not bill the Trustee by the hour, nor will they

maintain time records

                 27.     The Trustee submits, having interviewed several other well

regarded brokerage firms, that the Fee comports with the applicable market rate for

commercial real estate transactions and is in line with commissions generally charged

by brokers of similar stature for comparable engagements.




1
 The Engagement Letter defines “gross sales price” as “Gross Sales Price” shall be defined as the amount
of consideration paid or payable, or otherwise to be received by the Trustee in connection with the sale of
the Property including all (i) cash, securities or other property, (ii) any debt assumed, satisfied or paid by
a purchaser or which remains outstanding at closing (including, without limitation, the amount of any
indebtedness “credit bid” at any sale), and (iii) amounts placed in escrow and deferred, contingent
payments and installment payments.


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       VI.     A&G’s Disinterestedness

               28.   To the best of the Trustee’s knowledge, and as described in the

Amendola Declaration, A&G: (a) is a “disinterested person” within the meaning of

section 101(14) of the Bankruptcy Code; (b) does not represent any person or entity

having an interest adverse to the Debtor in connection with this Chapter 11 Case;

(c) does not hold or represent an interest adverse to the Debtor’s estate with respect to

matters on which A&G is employed; and (d) has no connection to the Debtor, its

creditors, the U.S. Trustee or any persons employed by that office, or any other party-in-

interest, except as disclosed in the Amendola Declaration.

               29.   A&G will promptly review its files against any updated list of

Interested Parties (as defined in the Amendola Declaration) received from the Debtor

from time to time during the pendency of this Chapter 11 Case pursuant to the

procedures described in the Amendola Declaration. To the extent any new relevant

facts or relationships are discovered or arise in the course of such review, A&G will

promptly make additional disclosures to the Bankruptcy Court as required by

Bankruptcy Rule 2014(a).

       VII.    Eastdil’s Disinterestedness

               30.   To the best of the Trustee’s knowledge, and as described in the

Wimsatt Declaration, Eastdil: (a) is a “ disinterested person” within the meaning of

section 101(14) of the Bankruptcy Code; (b) does not represent any person or entity

having an interest adverse to the Debtor in connection with this Chapter 11 Case;

(c) does not hold or represent an interest adverse to the Debtor’s estate with respect to

matters on which Eastdil is employed; and (d) has no connection to the Debtor, its

creditors, the United States Trustee for the Southern District of New York 2 or any




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persons employed by the U.S Trustee or any persons employed by the U.S. Trustee, or

any other party-in-interest, except as disclosed in the Wimsatt Declaration.

               31.    Eastdil will promptly review its files against any updated list of

Interested Parties (as defined in the Wimsatt Declaration) received from the Debtor

from time to time during the pendency of this Chapter 11 Case pursuant to the

procedures described in the Wimsatt Declaration. To the extent any new relevant facts

or relationships are discovered or arise in the course of such review, Eastdil will

promptly make additional disclosures to the Bankruptcy Court as required by

Bankruptcy Rule 2014(a).

                                  RELIEF REQUESTED

               32.    By this Application, the Trustee requests entry of the Proposed

Order, pursuant to sections 327 and 328 of the Bankruptcy Code, Bankruptcy Rule 2014,

and Local Rule 2014-1, authorizing the Trustee to retain and employ A&G and Eastdil as

his real estate co-brokers in this Chapter 11 Case.

                                   BASIS FOR RELIEF

               33.    The Trustee seeks to retain A&G and Eastdil as his real estate co-

brokers pursuant to section 327(a) of the Bankruptcy Code, which provides that, subject

to Court approval:

                      except as otherwise provided in this section, the
                      trustee, with the Court’s approval, may employ
                      one or more attorneys, accountants, appraisers,
                      auctioneers, or other professional persons, that do
                      not hold or represent an interest adverse to the
                      estate, and that are disinterested persons, to
                      represent or assist the [debtor] in carrying out the
                      [debtor]’s duties under this title.

11 U.S.C. § 327(a).




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               34.   Section 328 of the Bankruptcy Code provides, in pertinent part, that

under section 327 of the Bankruptcy Code, a professional may be employed “on any

reasonable terms and conditions of employment, including . . . on a contingent fee

basis.” 11 U.S.C. § 328(a).


               35.   Bankruptcy Rule 2014(a) requires that an application for retention

include:

                     [S]pecific facts showing the necessity for the
                     employment, the name of the [firm] to be
                     employed, the reasons for the selection, the
                     professional services to be rendered, any proposed
                     arrangement for compensation, and, to the best of
                     the applicant’s knowledge, all of the [firm’s]
                     connections with the debtor, creditors, any other
                     party in interest, their respective attorneys and
                     accountants, the United States trustee, or any
                     person employed in the office of the United States
                     trustee.

Fed. R. Bankr. P. 2014(a).

               36.   The retention of real estate brokers pursuant to the standard of

review in section 328(a) of the Bankruptcy Code has been approved in other cases in

this District and others. See, e.g., In re Zuca Properties LLC, No. 21-11082 (MG) (Bankr.

S.D.N.Y. July 21, 2021); In re Weintraub, No. 11-15499 (JLG) (Bankr. S.D.N.Y. March 13,

2015); In re FL 6801 Spirits LLC, et al., No. 14-11691 (SCC) (Bankr. S.D.N.Y. June 25, 2014);

In re 313 W. 77th St. Tenants Corp., No. 03-15522 (SCC) (Bankr. S.D.N.Y. Oct. 5, 2011); In re

Gen. Growth Props., Inc., Case No. 09-11977 (ALG) (Bankr. S.D.N.Y. Apr. 16, 2009); In re

The Brooklyn Hospital Ctr., et al., No. 05-26990 (Bankr. E.D.N.Y. January 5, 2007) (CEC); In

re Harrow Stores, Inc., No. 06-72860 (Bankr. E.D.N.Y. December 15, 2006) (DTE);

In re TSIC, Inc., f/k/a Sharper Image Corp., No. 08-10322 (Bankr. D. Del. July 28, 2008)

(KG).



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               37.   Based on the facts and for the reasons stated herein and in the

Broker Declarations, the retention of A&G and Eastdil as real estate co-brokers for the

Trustee pursuant to this Application is reasonable, necessary, and appropriate, and

satisfies the requirements of sections 327 and 328 of the Bankruptcy Code and

Bankruptcy Rule 2014(a).

               38.   The Trustee respectfully submits that for all of the reasons stated

above and in the Broker Declarations, the retention of A&G and Eastdil as real estate co-

brokers to the Trustee should be approved.

                                         NOTICE

               39.   The Trustee, by and through its attorneys, Togut, Segal & Segal LLP,

will provide notice of this Application to: (i) the U.S. Trustee; (ii) counsel for the

Debtor; (iii) counsel for Benefit Street.; and (iv) all parties who have filed a Notice of

Appearance in this case. Notice of this Application and any order entered hereon will

be served in accordance with Bankruptcy Rule 9013 and Local Rule 9013-1(b). In light of

the nature of the relief requested herein, the Trustee respectfully submits that no other

or further notice is necessary.

                                  NO PRIOR REQUEST

               40.   No prior application for the relief sought herein has been made to

this or any other court.

                              [Concluded on the following page]




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                                     CONCLUSION

               WHEREFORE, the Trustee respectfully requests entry of the Proposed

Order, authorizing the retention and employment of A&G and Eastdil as real estate co-

brokers to the Trustee, together with such other and further relief as is just and proper.


DATED:     New York, New York
           July 26, 2022
                                          STEPHEN S. GRAY
                                          Not Individually But Solely in His
                                          Capacity as Chapter 11 Trustee
                                          By His Attorneys,
                                          TOGUT, SEGAL & SEGAL LLP
                                          By:

                                          /s/Frank A. Oswald
                                          FRANK A. OSWALD
                                          A Member of the Firm
                                          One Penn Plaza, Suite 3335
                                          New York, New York 10119
                                          (212) 594-5000
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                                   EXHIBIT A
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
In re:                                                         :   Chapter 11
                                                               :
96 WYTHE ACQUISITION LLC,                                      :   Case No. 21-22108 (SHL)
                                                               :
                                       Debtor.                 :   Re: Docket No. [      ]
                                                               :
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                         ORDER AUTHORIZING THE
                     RETENTION AND EMPLOYMENT OF
         A&G REAL ESTATE PARTNERS, LLC AND EASTDIL SECURED, LLC
          AS REAL ESTATE CO-BROKERS FOR THE CHAPTER 11 TRUSTEE

        Upon the application (the “Application”)1 of Stephen S. Gray, not individually

but solely in his capacity as the chapter 11 trustee (the “Trustee”) in the above-

captioned chapter 11 case (the “Chapter 11 Case”), by his attorneys, Togut, Segal &

Segal LLP, for entry of an order (this “Order”) pursuant to sections 327(a) and 328(a) of

title 11 of the United States Code (the “Bankruptcy Code”), Rule 2014 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 2014-1 of the Local

Bankruptcy Rules for the Southern District of New York (the “Local Rules”)

authorizing the Trustee to retain and employ A&G Real Estate Partners, LLC (“A&G”)

and Eastdil Secured, LLC (“Eastdil”) as his real estate co-brokers; and this Court

having jurisdiction to consider the Application pursuant to 28 U.S.C. §§ 157 and 1334;

and venue of this Chapter 11 Case and the Application in this district being proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core proceeding

pursuant to 28 U.S.C. § 157(b); and this Court having found that proper and adequate

notice of the Application and the relief requested therein has been provided in


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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in
    the Application.
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accordance with the Bankruptcy Rules, Local Rules, and any applicable orders entered

in this Chapter 11 Case, and no other or further notice is necessary; and any objections

to the Application having been withdrawn or overruled on the merits; and upon

consideration of the Amendola Declaration and the Wimsatt Declaration; and this

Court being satisfied based on the representations made in the Application and the

Amendola Declaration and Wimsatt Declaration that (i) A&G and Eastdil do not hold

or represent any interest adverse to the Trustee or the Debtor’s estate, (ii) A&G and

Eastdil are disinterested persons as that term is defined under section 101(14) of the

Bankruptcy Code, and (iii) A&G and Eastdil’s employment is necessary and is in the

best interests of the Debtor’s estate and its creditors; and after due deliberation and

sufficient cause appearing therefor;

               IT IS HEREBY ORDERED THAT:

               1.       The Application is GRANTED as set forth herein.

               2.       In accordance with sections 327(a) and 328(a) of the Bankruptcy

Code, the Trustee is hereby authorized to retain and employ A&G and Eastdil as its real

estate co-brokers, effective as of the date of the filing of the Application July 26, 2022, on

the terms set forth in the Engagement Letter attached to the Application as [Exhibit B]

               3.       A&G and Eastdil shall be compensated in the manner described in

the Application and Engagement Letter..

               4.       A&G and Eastdil shall not be required to maintain time records.

               5.       To the extent the Application or Engagement Letter are inconsistent

with this Order, the terms of this Order shall govern.

               6.       The Trustee is authorized and empowered to take all actions

necessary to implement the relief granted in this Order.



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               7.       The requirements set forth in Local Rule 9013-1(b) are satisfied.

               8.       This Court shall retain exclusive jurisdiction with respect to any

matters, claims, rights, or disputes arising from or related to the Application, the

Engagement Letter, or the implementation of this Order.


DATED: White Plains, New York
       ___________, 2022


                                         HONORABLE SEAN H. LANE
                                         UNITED STATES BANKRUPTCY JUDGE




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          REAL ESTATE SERVICES AGREEMENT
AMONG A&G REALTY PARTNERS, LLC, EASTDIL SECURED,
L.L.C., AND STEPHEN S. GRAY, CHAPTER 11 TRUSTEE OF 96
               WYTHE ACQUISITION, LLC,
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   This Real Estate Services Agreement including the Schedules attached hereto
   (collectively the “Agreement”) is made as of July 25, 2022 (the “Agreement Date”), by
   and among A&G REALTY PARTNERS, LLC, a New York limited liability company,
   with its principal place of business at 445 Broadhollow Road, Suite 410, Melville, New
   York 11797 (“A&G”), Eastdil Secured, L.L.C., a Delaware limited liability company
   with its principal place of business at 40 West 57th St., New York, NY 10019(“Eastdil”
   and, together with A&G, the “RE Advisors”), and STEPHEN S. GRAY, not
   individually, but solely in his capacity as the Chapter 11 Trustee of 96 Wythe
   Acquisition, LLC, with an address of Gray & Company LLC, 207 Union Wharf, Boston
   MA 02109 10119 (the “Trustee” and, together with the RE Advisors, collectively, the
   “Parties” and, individually, a “Party”).

                                           WITNESSETH:

   WHEREAS, on February 23, 2021, 96 Wythe Acquisition, LLC (the “Debtor”) filed a
   voluntary petition for relief under Chapter 11 of the Bankruptcy Code in the United
   States Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”)
   bearing Case No. 21-22108;

   WHEREAS, the Debtor owns certain property known as The Williamsburg Hotel which
   is located at 96 Wythe Avenue, Brooklyn, New York (the “Property”);

   WHEREAS, the Trustee is the duly appointed Chapter 11 trustee of the Debtor; and

   WHEREAS, under the terms and conditions contained in this Agreement, and subject to
   Bankruptcy Court approval, the Trustee desires to retain RE Advisors and the RE Advisors
   are willing to provide the Services (as defined below).

   NOW THEREFORE, in consideration of the mutual covenants and conditions contained
   herein and other good and valuable consideration, the receipt and sufficiency of which are
   hereby acknowledged, the Parties agree as follows:

   1.     In accordance with the terms and conditions of this Agreement, and subject to
          Bankruptcy Court approval pursuant to Sections 327 and 328 of the Bankruptcy
          Code, the RE Advisors will provide the Trustee with the following services
          (collectively, the “Services”):

             a. Ascertain the Trustee’s goals, objectives and financial parameters with
                respect to the sale of the Property;

             b. Prepare and implement a marketing plan to sell the Property;

             c. Conduct a sale process for the Property;

             d. Represent the Trustee in, and negotiate, the sale of the Property;



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           e. Assist the Trustee and his counsel in the documentation of a sale
              transaction involving the Property; and

           f. Report weekly to the Trustee regarding the status of the project or as
              otherwise agreed to by the Trustee.

   2.    Term of Agreement. Subject to Section 12 herein, this Agreement shall be for a
         term of one (1) year following the Agreement Date (the “Term”) or until the
         Services are completed. The Term may be extended or renewed by written
         agreement of the Parties.

   3.    Compensation. Compensation to the RE Advisors shall be based on a percentage
         of the gross sales price of the Property (the “Fee”). Specifically, upon a sale of the
         Property, the RE Advisors shall be deemed to have earned, and shall be paid, a Fee
         equal to (a) 1.25% of the first $103,400,000 of gross sales price of the Property (the
         “Minimum Fee”), plus (b) 3% of that portion of the gross sales price that exceeds
         $103,400,000; provided, however, in the event Benefit Street Partners Realty
         Operating Partnership, L.P. or its designee is the successful purchaser of the
         Property pursuant to a credit bid of $96,000,000 or less, the Minimum Fee shall be
         reduced by fifty percent (50%). “Gross Sales Price” shall be defined as the amount
         of consideration paid or payable, or otherwise to be received by the Trustee in
         connection with the sale of the Property including all (i) cash, securities or other
         property, (ii) any debt assumed, satisfied or paid by a purchaser or which remains
         outstanding at closing (including, without limitation, the amount of any
         indebtedness “credit bid” at any sale), and (iii) amounts placed in escrow and
         deferred, contingent payments and installment payments. The Fee shall be paid at
         the closing on the sale of the Property. To the extent required by an order of the
         Bankruptcy Court approving this Agreement, the RE Advisors shall file a final fee
         application under Section 328 of the Bankruptcy Code in connection with the Fee
         and any Marketing Expenses. The Fee shall be shared equally between the RE
         Advisors.

   4.    Additional Services. The RE Advisors may provide additional services requested
         by the Trustee that are not otherwise specifically provided for in this Agreement.
         Any additional services will be mutually agreed upon by the Parties and
         documented in a separate written agreement.

   5.    Recordkeeping. The Services to be provided by the RE Advisors pursuant to this
         Agreement are, in general, transactional in nature. Accordingly, the RE Advisors
         will not bill the Trustee by the hour or maintain time records.

   6.    Expenses and Disbursements. The Trustee shall reimburse the RE Advisors for
         their reasonable, documented out-of-pocket expenses (including, but not limited to,
         marketing and travel) incurred in connection with its retention and provision of
         Services (the “Marketing Expenses”), provided, the Marketing Expenses shall be
         approved in advance by the Trustee and shall not exceed $50,000. In the event the
         Trustee does not have sufficient funds on hand to pay the Marketing Expenses at


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         the time an invoice therefor is presented to him by the RE Advisors, the Marketing
         Expenses shall be paid from the first gross proceeds of the Property received by the
         Trustee and be in addition to the Fee. Additionally, any legal fees and expenses
         incurred by the RE Advisors as a result of responding to any litigation or other type
         of inquiry, deposition or otherwise relating to the Services or this Agreement shall
         be reimbursed by the Trustee to the RE Advisors. Any reimbursable expenses other
         than the Marketing Expenses shall be paid to the RE Advisors within five (10)
         business days of receipt of an invoice therefor.

   7.    Exclusive. During the Term of this Agreement, the RE Advisors shall have the sole
         and exclusive authority to perform the Services. All relevant inquiries regarding the
         Property made to the Trustee, his representatives or related parties (including the
         Debtor) shall be directed to the RE Advisors. In the event the Trustee enters into
         an agreement for the sale of the Property during the term of this Agreement, then
         regardless of the identity of the purchaser or the person who introduced such
         purchaser to the Trustee, or the date of closing thereunder, the RE Advisors shall
         be entitled to the Fee pursuant to the terms of Section 3 of this Agreement payable
         upon the closing of the transaction.

   8.    Information. The Trustee shall make available to the RE Advisors such documents
         and other information which in the reasonable judgment of the RE Advisors are
         necessary or appropriate for the fulfillment of their assignment hereunder and the
         proper marketing of the Property. All documents and information supplied to the
         RE Advisors by the Trustee shall, to the best of the Trustee’s knowledge, be
         complete and accurate and the Trustee shall correct any information which he learns
         is incomplete or inaccurate. The Trustee understands that the information provided
         to the RE Advisors may be used in the preparation of marketing materials that will
         be distributed to prospective purchasers. The Trustee will be asked to approve all
         marketing materials in advance of their use. The Trustee acknowledges and agrees
         that, as between the RE Advisors and the Trustee, the Trustee is responsible for the
         accuracy and completeness of all information regarding the Property that is
         provided by or at the direction of the Trustee to third parties. Additionally, the
         Trustee agrees to provide to the RE Advisors a copy of the final form of the closing
         or settlement statement(s) prepared in connection with the closing and settlement
         of the sale transaction(s).

   9.    Analysis. To the extent that the RE Advisors prepare any analysis, valuation,
         appraisal or other report (“Analysis”) regarding the economic value of the Property,
         the Trustee acknowledges and agrees that any such Analysis will be an estimate
         only and will not constitute a representation, warranty, covenant or guaranty, either
         expressed or implied, regarding future events or performance. The Trustee further
         acknowledges and agrees that the Analysis will be used for his internal purposes
         only, and will not be disseminated to any third party without the written consent of
         the RE Advisors.

   10.   Use of Trustee Name. The RE Advisors may use the Trustee and/or Debtor’s name
         and logo to identify the Trustee as one of the RE Advisors’ clients, including on

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         any “tombstone” or other advertisement announcing the successful consummation
         of any transaction contemplated herein.

   11.   No Authority to Execute Agreements. The RE Advisors shall have no right or
         power to enter into any agreement in the name of or on behalf of the Trustee or to
         otherwise obligate the Trustee in any manner without the prior written consent or
         approval of Trustee, which approval may be withheld in Trustee’s sole discretion.

   12.   Assignment. Neither Party may delegate or assign its rights and obligations under
         this Agreement in whole or in part to an unaffiliated third party without the prior
         written consent of the other Party.

   13.   Notices. Unless otherwise expressly provided herein or waived in writing by the
         Party to whom notice is given, any notice or other communication required or
         permitted hereunder will be effective if given in writing (i) when delivered by hand;
         (ii) three days after sent by certified mail, return receipt requested; (iii) when
         delivered by electronic email communication to the email address set forth below
         and verified by confirmed receipt; or (iv) one day after delivery to a commercial
         overnight courier, and addressed to the Parties as follows:

         To the Trustee:               Stephen S. Gray, Chapter 11 Trustee of 96 Wythe
                                       Acquisition, LLC
                                       Gray & Company LLC
                                       207 Union Wharf
                                       Boston MA 02109
                                       (617) 875-6404
                                       Email: Ssg@grayandcompanyllc.com

         With a copy to:               Togut, Segal & Segal LLP
                                       One Penn Plaza
                                       New York, New York 10119
                                       Attn: Frank A. Oswald, Esq.
                                       Tel: (212) 594-5000
                                       Email: frankoswald@teamtogut.com

         To A&G:                       A&G Realty Partners, LLC
                                       445 Broadhollow Road, Suite 410
                                       Melville, New York 11747
                                       Attn: Emilio Amendola
                                       Tel: (631) 465-9507
                                       Email: emilio@agrep.com

         To Eastdil:                   Eastdil Secured, L.L.C.
                                       2000 K Street NW, Suite 300
                                       Washington, D.C. 20006
                                       Attn: Andy Wimsatt


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                                        Tel: (202) 688-4017
                                        Email: awimsatt@eastdilsecured.com

   14.   Representations, Warranties and Covenants. Each Party, severally not jointly,
         represents that it has all requisite power and authority, subject to Court approval, to
         enter into this Agreement. This Agreement has been validly authorized by all
         necessary corporate action and constitutes a legal, valid and binding agreement of
         the Trustee and the RE Advisors. Each Party, severally not jointly, represents that
         this Agreement does not and will not violate any applicable law or conflict with
         any agreement, instrument, judgment, order or decree to which it is a party or by
         which it is bound. Furthermore, each Party, severally not jointly, represents and
         agrees that it will comply with all applicable laws, rules, regulations, orders or
         decrees during the term of this Agreement in performing its obligations hereunder.
         Each Party, severally not jointly, agrees to deal with the other fairly and in good
         faith so as to allow each Party to perform their duties and earn the benefit of this
         Agreement. The RE Advisors agree to utilize commercially reasonable efforts and
         diligence to achieve the purpose of this Agreement.

   15.   Survival of Fee. In the event the RE Advisors have had, and have documented,
         substantive discussions regarding a sale of the Property with a third party prior to
         the termination or expiration of the term of this Agreement and a sale of the
         Property by the Trustee to said third party is consummated within one hundred
         eighty (180) days after the termination or expiration of this Agreement, the RE
         Advisors shall be entitled to the Fee pursuant to the terms of Section 3 of this
         Agreement.

   16.   Indemnification. The Trustee, solely on behalf of the Debtor’s estate, and not in
         his individual capacity, agrees to indemnify the RE Advisors and their respective
         affiliates, officers, directors, employees, agents and independent contractors, and
         hold each of them harmless from and against all third party claims, demands,
         penalties, losses, liability or damage, including, without limitation, reasonable
         attorneys’ fees and expenses, asserted against, resulting from (directly or
         indirectly), or related to the Services or actions or omissions of the RE Advisors or
         the Trustee taken pursuant to this Agreement, (including, but not limited to, any
         covenants, representations or warranties contained herein) or in any written
         agreement entered into in connection herewith except to the extent that such claims
         or liabilities arise as a direct result of the RE Advisors’ fraud, gross negligence, or
         willful misconduct.

   17.   Limitation on Liability. Neither Party shall be responsible for any indirect,
         incidental, consequential, exemplary, punitive or other special damages (including,
         but not limited to, loss of profits and damage to reputation or business) arising under
         or by reason of this Agreement, the Services or any act or omission hereunder
         except to the extent of actual fraud, gross negligence, or willful misconduct.
         Neither Party shall be liable if it is unable to perform its responsibilities hereunder
         as a result of events beyond its control. Furthermore, in no event shall the RE


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         Advisors/ liability for a default or breach of this Agreement exceed the amount of
         fees paid to the RE Advisors hereunder.

   18.   Binding Effect. No Third-Party Beneficiaries. This Agreement binds and inures to
         the benefit of the Parties hereto and their respective successors and permitted
         assigns and except as expressly provided herein, is not intended to confer any rights
         or remedies upon any person not a party to this Agreement.

   19.   Waivers and Amendments. Waiver by either Party of any default by the other Party
         shall not be deemed a waiver of any other default. This Agreement (including the
         Schedule (s) attached hereto) may not be waived, amended, or modified by either
         Party unless in writing and signed by the Parties hereto.

   20.   Severability. If any provision, or any portion of any provision, contained in this
         Agreement is held to be invalid or unenforceable by a court of competent
         jurisdiction, then it is the intent of the Parties to modify or limit such provision or
         portion thereof so as to be valid and enforceable to the extent permitted under
         applicable law. In the event that such provision or portion thereof cannot be
         modified, then such provision or portion thereof shall be deemed omitted and this
         Agreement shall be construed as if such invalid or unenforceable provision had
         never been contained herein.

   21.   Entire Agreement. This Agreement constitutes the entire agreement between the
         Parties with respect to the subject matter hereof. All prior agreements,
         representations, statements, negotiations, understandings, and undertakings are
         superseded by this Agreement.

   22.   Counterpart Execution/Facsimile and Electronic Signatures. This Agreement may
         be executed in multiple counterparts, each of which shall be deemed to be an
         original and all of which together shall constitute one document. Facsimile and
         electronic signatures on this Agreement and any document contemplated hereby
         shall be deemed to be original signatures.

   23.   Governing Law. This Agreement shall be governed by the laws of the State of New
         York without reference to its conflict of laws rules. Any dispute arising or resulting
         from this Agreement shall be resolved exclusively by the Bankruptcy Court.

   24.   Waiver of Jury Trial. Each of the Parties unconditionally waives, to the extent
         legally permissible, the right to a jury trial in connection with any claim arising out
         of or related to this Agreement.

   25.   Headings. The section headings and use of defined terms in the singular or plural
         tenses in this Agreement are solely for the convenience of the Parties.

   26.   No Presumptions. This Agreement by shall be deemed drafted by both Parties and
         there shall be no presumption for or against either Party in the interpretation of this
         Agreement.


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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
96 WYTHE ACQUISITION LLC,                                      :   Case No. 21-22108 (SHL)
                                                               :
                                       Debtor.                 :
                                                               :
---------------------------------------------------------------x

               DECLARATION OF EMILIO AMENDOLA IN SUPPORT
              OF THE CHAPTER 11 TRUSTEE’S APPLICATION FOR AN
            ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT
              OF A&G REAL ESTATE PARTNERS, LLC AND EASTDIL
                  SECURED, LLC AS REAL ESTATE CO-BROKERS

                 I, Emilio Amendola, under penalty of perjury, declare as follows:

                 1.       I am a co-President at A&G Real Estate Partners, LLC (“A&G”). I

am authorized to make this declaration (the “Declaration”) on behalf of A&G in support

of the Chapter 11 Trustee’s Application for an Order Authorizing the Retention and

Employment of A&G Real Estate Partners, LLC and Eastdil Secured, LLC as Real Estate Co-

Brokers (the “Application”),1 to assist Stephen S. Gray, not individually but solely in his

capacity as the Chapter 11 trustee (the “Trustee”) of the estate of 96 Wythe Acquisition

LLC, (“Debtor”) in the above-captioned chapter 11 case (the “Chapter 11 Case”) in the

marketing and sale of the Debtor’s property located at 96 Wythe Avenue, Brooklyn,

New York (the “Property”). Except as otherwise indicated, I have personal knowledge

of the matters set forth herein and, if called as a witness, would testify competently

thereto.

                 2.       I have been in the commercial real estate business for almost 40

years. In 2012, I co-founded A&G. I am the head of A&G’s real estate disposition and


1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such
    terms in the Application.
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due diligence groups. My key areas of expertise include real estate sales, lease

renegotiations and terminations, portfolio optimization, due diligence, and valuation.

During my career, I have worked with more than 750 clients and generated successful

outcomes for individual asset and portfolio sales, as well as lease mitigation projects,

valued at more than $10 billion.

                                    A&G’s QUALIFICATIONS

               3.          A&G is a well-known, reputable and diversified real estate

consulting and advisory firm. The principals of A&G, combined, have over 50 years of

experience in all facets of the commercial real estate industry. A&G evaluates,

restructures, facilitates the acquisition of, and disposes of all types of commercial real

estate.

               4.          A&G regularly represents chapter 11 debtors, trustees, and

receivers in the marketing and disposition of real estate pursuant to section 363 of the

Bankruptcy Code. A&G has extensive experience marketing and selling various types

of real estate in and out of bankruptcy, including hotels and hospitality assets.

               5.          Based on the foregoing, I believe that A&G is well-qualified and

able to efficiently provide the requested brokerage services with respect to the Property.

                             SERVICES TO BE PROVIDED BY A&G

               6.          The Trustee has selected A&G and Eastdil Secured, LLC

(“Eastdil”), as his proposed co-brokers (the “Co-Brokers”) to market and sell the

Property. Pursuant to the terms of the engagement letter between the Trustee, A&G,

and Eastdil, dated July 25, 2022 (the “Engagement Letter”), a copy of which is annexed

to the Application as Exhibit B, the Co-Brokers shall render the following professional

services, which include but are not limited to:

                      i.    Prepare and implement a marketing plan to sell the Property;


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                       ii.    Conduct a sale process of the Property;

                      iii.    Represent the Trustee in, and along with the Trustee’s counsel,
                              negotiate, the sale terms for the Property;

                      iv.     Assist the Trustee and his counsel in the documentation of a sale
                              transaction involving the Property; and

                       v.     Report weekly to the Trustee regarding the status of the
                              engagement or as otherwise agreed to by the Trustee.

                7.           The Co-Brokers will provide the services described above on an

exclusive basis for term of one year beginning on the date of the Engagement Letter

(the “Co-Broker Period”).

                                 PROFESSIONAL COMPENSATION

                8.           Subject to Bankruptcy Court approval, compensation to the Co-

Brokers will be based upon a percentage of the gross sales price2 of the Property (the

“Fee”). The Fee will be shared equally between A&G and Eastdil.

                9.           The Fee will be equal to: (a) 1.25% of the first $103.4 million of

gross sales price of the Property; plus (b) 3% of the portion of the gross sales price of

the Property that exceeds $103.4 million.

                10.          Notwithstanding the foregoing, in the event that the Secured

Lender is the successful purchaser of the Property pursuant to a credit bid of $96

million (or less), the Co-Brokers will receive compensation in a reduced amount equal

to 50% of the Fee that the Co-Brokers would otherwise receive as set forth above.




2
    The Engagement Letter defines “gross sales price” as “Gross Sales Price” shall be defined as the
    amount of consideration paid or payable, or otherwise to be received by the Trustee in connection
    with the sale of the Property including all (i) cash, securities or other property, (ii) any debt assumed,
    satisfied or paid by a purchaser or which remains outstanding at closing (including, without
    limitation, the amount of any indebtedness “credit bid” at any sale), and (iii) amounts placed in
    escrow and deferred, contingent payments and installment payments.


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               11.   The services provided by the Co-Brokers are transactional by

nature, and therefore the Co-Brokers will not bill the Trustee by the hour, nor will they

maintain time records.

               12.   I believe that the Fee comports with the applicable market rate for

commercial real estate transactions and is in line with commissions generally charged

by brokers of similar stature for comparable engagements.

               13.   Subject to the approval of the Court, in accordance with the

provisions of section 328(a) of the Bankruptcy Code, the Bankruptcy Rules, and the

applicable Local Rules and orders of this Court, the Co-Brokers intend to apply for

compensation for professional services rendered and reimbursement for related costs

pursuant to the Engagement Letter.

    PROCEDURES TO IDENTIFY CONFLICTS; DISCLOSURE OF CONFLICTS

               14.   A&G has had commercial or professional relationships, may

currently have commercial or professional relationships, and may in the future have

commercial or professional relationships directly or indirectly with the Trustee, the

Debtor's creditors and equity security holders, and other interested parties (collectively,

the “Interested Parties”),” a list of which is attached hereto as Exhibit 1. As described

below, however, A&G has undertaken a detailed search to determine and to disclose

any relationships with the Interested Parties, and whether it is performing or has

performed services for any Interested Parties.

               15.   A&G researched its client database to determine whether it has any

relationships with any Interested Parties. To the best of my knowledge, A&G’s research

did not reveal any fact or situation that would represent a conflict of interest for A&G

with regard to the Debtor. It should be noted that A&G uses the law firm of McGrail &

Bensinger LLP (“M&B”) for outside legal services. M&B is representing A&G in this


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matter to draft/negotiate the real estate services agreement, review/comment on the

retention application and file a final fee application for A&G to the extent required by

the Court. On or about May 21, 2021, the Debtor retained M&B as special counsel. The

Debtor had not yet filed retention papers when certain disagreements arose between the

Debtor and M&B. Accordingly, M&B terminated the Debtor as a client on or about May

27, 2021. The docket in this case incorrectly lists M&B as counsel for the DIP lender.

Furthermore, in the interest of full disclosure, the prior firm of A&G's principals (DJM

Asset Management, a division of Gordon Brothers) has been retained in past Chapter 11

bankruptcy proceedings in which the Trustee served in various capacities, including in

The Wiz, Inc., Pier 1 Imports, Inc., CompUSA, Inc., and Pivot Health Solutions, LLC,

among others.

               16.   Despite the efforts described above to identify and disclose A&G’s

connections with any Interested Parties in the Chapter 11 Case, A&G is unable to state

with certainty that every client representation or other connection has been disclosed. If

A&G discovers additional information that requires disclosure, A&G will file

supplemental disclosures with the Court as promptly as possible.

               17.   To the best of my knowledge, A&G has not been retained to assist

any entity or person other than the Trustee on matters relating to, or in connection with,

the Chapter 11 Case. If this Court approves the proposed employment of A&G by the

Trustee, A&G will not accept any engagement or perform any service in the Chapter 11

Case for any other entity or person other than the Trustee. A&G may, however,

continue to provide professional services to, and engage in commercial or professional

relationships with, entities or persons that may be creditors of the Debtor or any

Interested Parties in the Chapter 11 Case; provided, however, those services do not and

will not relate to, or have any connection with, the Chapter 11 Case.


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               18.   To the best of my knowledge, information, and belief, A&G does

not hold or represent any interest adverse to the interests of the Debtor, or of any class

of creditors or equity security holders of the Debtor, by reason of any direct or indirect

relationship to, connection with, or interest in the Debtor based on the information

provided to A&G to date.

               19.   To the extent that any information disclosed herein requires

amendment or modification upon A&G’s completion of further analysis, or as

additional information becomes available to it, a supplemental affidavit will be

submitted to the Court.

                             A&G’s DISINTERESTEDNESS

               20.   To the best of my knowledge, A&G: (a) is a “disinterested person”

within the meaning of section 101(14) of the Bankruptcy Code; (b) does not represent

any person or entity having an interest adverse to the Debtor's estate in connection with

this Chapter 11 Case; (c) does not hold or represent an interest adverse to the Debtor’s

estate; and (d) has no connection to the Debtor, its creditors, or any other party-in-

interest, except as disclosed herein.

               21.   Neither I nor any other professional of A&G who will work on this

engagement, to the best of my knowledge after reasonable inquiry, is related or

connected to the United States Bankruptcy Judge assigned to this Chapter 11 Case, the

United States Trustee for the Southern District of New York (the “U.S. Trustee”) or any

persons employed by the U.S. Trustee.

               22.   A&G will promptly review its files against any updated list of

Interested Parties received from the Debtor from time to time during the pendency of

this Chapter 11 Case. To the extent any new relevant facts or relationships are




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discovered or arise in the course of such review, A&G will promptly make additional

disclosures to the Court as required by Bankruptcy Rule 2014(a).

               23.   Based on the facts and for the reasons stated herein, the retention of

A&G as real estate co-broker for the Trustee is reasonable and appropriate.


DATED:     New York, New York
           July 26, 2022

                                          /s/Emilio Amendola
                                          Emilio Amendola
                                          A&G Realty Partners, LLC
                                          445 Broadhollow Rd. Ste. 410
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                                            7
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Altour International Travel Leaders Group
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Atlantis Cleaners, Inc.
873 Bedrod Avenue
Brooklyn, NY. 11205-3927
Benefit Street Partners
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Suites 32A
New York, NY 10105-3107
COD Services Corp
c/o Christopher Vatter
Jaspan, Schlesinger & Hoffman, LLP
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A&L Cesspool Servic Corp.
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Long Island City, NY 11101-2052
Agri Exotic Trading, Inc.
700 Route 46 West
Ste 5
Clifton, NJ 07013-1501
Amadeus Hospitality Americas, Inc.
29618 Network Place
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
96 WYTHE ACQUISITION LLC,                                      :   Case No. 21-22108 (SHL)
                                                               :
                                       Debtor.                 :
                                                               :
---------------------------------------------------------------x

                DECLARATION OF ANDY WIMSATT IN SUPPORT
              OF THE CHAPTER 11 TRUSTEE’S APPLICATION FOR AN
            ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT
              OF A&G REAL ESTATE PARTNERS, LLC AND EASTDIL
                  SECURED, LLC AS REAL ESTATE CO-BROKERS

                 I, Andy Wimsatt, under penalty of perjury, declare as follows:

                 1.       I am a Managing Director at Eastdil Secured, LLC (“Eastdil”). I am

authorized to make this declaration (the “Declaration”) on behalf of Eastdil in support

of the Chapter 11 Trustee’s Application for an Order Authorizing the Retention and

Employment of A&G Real Estate Partners, LLC and Eastdil Secured, LLC as Real Estate Co-

Brokers (the “Application”),1 to assist Stephen S. Gray, not individually but solely in his

capacity as the Chapter 11 trustee (the “Trustee”) of the estate of 96 Wythe Acquisition

LLC, (“Debtor”) in the above-captioned chapter 11 case (the “Chapter 11 Case”) in the

marketing and sale of the Debtor’s property located at 96 Wythe Avenue, Brooklyn,

New York (the “Property”). Except as otherwise indicated, I have personal knowledge

of the matters set forth herein and, if called as a witness, would testify competently

thereto.

                 2.       I have been involved with the hospitality industry for over 35

years, including 20 years with Marriott International in a variety of executive-level


1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such
    terms in the Application.
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positions in hotel development. I have been with Eastdil Secured in the role of

Managing Director for three years and have successfully advised institutional clients in

the acquisition and disposition of hotel assets in the US and Europe.

                                   EASTDIL’S QUALIFICATIONS

               3.           Eastdil has been in the real estate business since 1967, and is well

regarded in the commercial real estate capital markets. Eastdil has a well-qualified

hospitality deal team. Eastdil is the largest independent commercial real estate

investment bank in the world by transaction volume and has completed more than $2.7

trillion in transactions within the last 15 years.

                            SERVICES TO BE PROVIDED BY EASTDIL

               4.           The Trustee has selected A&G Real Estate Partners, LLC (“A&G”)

and Eastdil, as his proposed co-brokers (the “Co-Brokers”) to market and sell the

Property. Pursuant to the terms of the engagement letter between the Trustee, A&G,

and Eastdil, dated July 25, 2022 (the “Engagement Letter”), a copy of which is annexed

to the Application as Exhibit B, the Co-Brokers shall render the following professional

services, which include but are not limited to:

                       i.    Prepare and implement a marketing plan to sell the Property;

                      ii.    Conduct a sale process of the Property;

                     iii.    Represent the Trustee in, and along with the Trustee’s counsel,
                             negotiate, the sale terms for the Property;

                     iv.     Assist the Trustee and his counsel in the documentation of a sale
                             transaction involving the Property; and

                      v.     Report weekly to the Trustee regarding the status of the
                             engagement or as otherwise agreed to by the Trustee.




                                                    2
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                5.       The Co-Brokers will provide the services described above on an

exclusive basis for term of one year beginning on the date of the Engagement Letter

(the “Co-Broker Period”).

                               PROFESSIONAL COMPENSATION

                6.       Subject to Bankruptcy Court approval, compensation to the Co-

Brokers will be based upon a percentage of the gross sales price2 of the Property (the

“Fee”). The Fee will be shared equally between A&G and Eastdil.

                7.       The Fee will be equal to: (a) 1.25% of the first $103.4 million of

gross sales price of the property; plus (b) 3% of the portion of the gross sales price of

the Property that exceeds $103.4 million.

                8.       Notwithstanding the foregoing, in the event that: (1) the gross sales

price of the Property is in an amount greater than or equal to $96 million; and (2) the

Secured Lender successfully credit bids the balance of its claim, the Co-Brokers will

receive compensation in a reduced amount equal to 50% of the gross sales price.

                9.       The services provided by the Co-Brokers are transactional by

nature, and therefore the Co-Brokers will not bill the Trustee by the hour, nor will they

maintain time records.

                10.      I believe that the Fee comports with the applicable market rate for

commercial real estate transactions and is in line with commissions generally charged

by brokers of similar stature for comparable engagements.




2
    The Engagement Letter defines “gross sales price” as “Gross Sales Price” shall be defined as the
    amount of consideration paid or payable, or otherwise to be received by the Trustee in connection
    with the sale of the Property including all (i) cash, securities or other property, (ii) any debt assumed,
    satisfied or paid by a purchaser or which remains outstanding at closing (including, without
    limitation, the amount of any indebtedness “credit bid” at any sale), and (iii) amounts placed in
    escrow and deferred, contingent payments and installment payments.


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               11.   Subject to the approval of the Court, in accordance with the

provisions of section 328(a) of the Bankruptcy Code, the Bankruptcy Rules, and the

applicable Local Rules and orders of this Court, the Co-Brokers intend to apply for

compensation for professional services rendered and reimbursement for related costs

pursuant to the Engagement Letter.

    PROCEDURES TO IDENTIFY CONFLICTS; DISCLOSURE OF CONFLICTS

               12.   Eastdil has had commercial or professional relationships, may

currently have commercial or professional relationships, and may in the future have

commercial or professional relationships directly or indirectly with the Debtor, its

creditors, its equity security holders, and other interested parties (collectively, the

“Interested Parties”),” a list of which is attached hereto as Exhibit 1. As described

below, however, Eastdil has undertaken a detailed search to determine and to disclose

any relationships with the Interested Parties, and whether it is performing or has

performed services for any Interested Parties.

               13.   Eastdil researched its client database to determine whether it has

any relationships with any Interested Parties. To the best of my knowledge, Eastdil’s

research did not reveal any fact or situation that would represent a conflict of interest

for Eastdil with regard to the Debtor.

               14.   Despite the efforts described above to identify and disclose

Eastdil’s connections with any Interested Parties in the Chapter 11 Case, Eastdil is

unable to state with certainty that every client representation or other connection has

been disclosed. If Eastdil discovers additional information that requires disclosure,

Eastdil will file supplemental disclosures with the Court as promptly as possible.

               15.   To the best of my knowledge, Eastdil has not been retained to assist

any entity or person other than the Debtor on matters relating to, or in connection with


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the Chapter 11 Case. If this Court approves the proposed employment of Eastdil by the

Trustee, Eastdil will not accept any engagement or perform any service in the Chapter

11 Case for any other entity or person other than the Debtor. Eastdil may, however,

continue to provide professional services to, and engage in commercial or professional

relationships with, entities or persons that may be creditors of the Debtor or any

Interested Parties in the Chapter 11 Case; provided, however, those services do not and

will not relate to, or have any connection with, the Chapter 11 Case.

               16.   To the best of my knowledge, information, and belief, Eastdil does

not have or represent any interest materially adverse to the interests of the Debtor, or of

any class of creditors or equity security holders of the Debtor, by reason of any direct or

indirect relationship to, connection with, or interest in the Debtor based on the

information provided to Eastdil to date.

               17.   To the extent that any information disclosed herein requires

amendment or modification upon Eastdil’s completion of further analysis, or as

additional information becomes available to it, a supplemental affidavit will be

submitted to the Court.

                          EASTDIL’S DISINTERESTEDNESS

               18.   To the best of my knowledge, Eastdil: (a) is a “disinterested

person” within the meaning of section 101(14) of the Bankruptcy Code; (b) does not

represent any person or entity having an interest adverse to the Debtor in connection

with this Chapter 11 Case; (c) does not hold or represent an interest adverse to the

Debtor’s estate with respect to matters on which Eastdil is employed; and (d) has no

connection to the Debtor, its creditors, or any other party-in-interest, except as disclosed

herein.




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               19.   Eastdil will promptly review its files against any updated list of

Interested Parties received from the Debtor from time to time during the pendency of

this Chapter 11 Case. To the extent any new relevant facts or relationships are

discovered or arise in the course of such review, Eastdil will promptly make additional

disclosures to the Court as required by Bankruptcy Rule 2014(a).

               20.   Based on the facts and for the reasons stated herein, the retention of

Eastdil as real estate co-broker for the Trustee pursuant is reasonable, necessary, and

appropriate. I respectfully submit that for all of the reasons stated above, the retention

of Eastdil as real estate co-broker to the Trustee is warranted.




DATED:     New York, New York
           July 26, 2022

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                                          Andy Wimsatt
                                          Eastdil Secured, LLC
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                                   EXHIBIT 1
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